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                            UNITED STATES DISTRICT COURT

                            EASTERN DISTRICT OF LOUISIANA

 ROBERT JONES,                              :    CIVIL ACTION NO. 2:18-CV-0503-JTM-JCW
                                            :
                          Plaintiff         :    SECTION H(2)
                                            :
       v.                                   :    JUDGE JANE TRICHE MILAZZO
                                            :
 LEON CANNIZZARO, JR., and                  :    MAGISTRATE JOSEPH C. WILKINSON, JR.
 ABC INSURANCE COMPANIES 1-10,              :
                                            :
                          Defendants.       :    JURY TRIAL DEMANDED

                                                ORDER

       Considering the Ex Parte Motion to File the Unredacted Memorandum of Law in Support

of and Appendix A to Plaintiff’s Second Motion to Compel Discovery from Defendant Leon

Cannizzaro, Jr. and Plaintiff’s Motion for Leave to Depose Kyle Daly Under Seal,

       IT IS ORDERED that the motion is hereby GRANTED. The unredacted memorandum

and Appendix A will be filed under seal.

                                                 October 2019.
                                    3rd day of __________,
       New Orleans, Louisiana, this ____



                                      ___________________________________

                                      UNITED STATES MAGISTRATE JUDGE
